Case 5:17-cv-05042-JLV Document 147 Filed 04/17/19 Page 1 of 2 PageID #: 1800



                      UNITED STATES DISTRICT COURT
                       DISTRICT OF SOUTH DAKOTA
                            WESTERN DIVISION


HOLLI TELFORD personally and as                       CIV. 17-5042-JLV
assignee of the claims of Brenda Burton,

                  Plaintiff,                               ORDER

     vs.

RON A. BRADEEN, BRADEEN REAL
ESTATE, JEFF STORM, FALL RIVER
COUNTY SHERIFF ROBERT EVANS
and SA DANE RASMUSSEN, in their
official capacities,

                  Defendants.


      This case centers on an online sale of land in South Dakota to plaintiff.

See Docket 51 at pp. 3-6. The court dismissed plaintiff’s claims against all

defendants. (Dockets 51 & 120). Plaintiff appealed the court’s judgment to the

United States Court of Appeals for the Eighth Circuit. (Docket 134). The

Eighth Circuit remanded the case to this court for the limited purpose of

determining the date plaintiff filed her notice of appeal. (Docket 140). The

physical version of the notice of appeal in question is stored at the Rapid City,

South Dakota, office of the Clerk of Court. Now pending before the court is

defendants Ron Bradeen’s, Bradeen Real Estate’s, and Jeff Storm’s motion to

allow an “expert document examiner,” Wendy Carlson “to conduct a

non-destructive analysis” of the notice of appeal. (Docket 144 at p. 2). The

court directed plaintiff to respond to this motion by April 15, 2019. (Docket
Case 5:17-cv-05042-JLV Document 147 Filed 04/17/19 Page 2 of 2 PageID #: 1801



145). She did not file any response. The court concludes plaintiff does not

object to defendants’ motion to allow their expert to examine the notice of appeal.

      Good cause appearing, it is

      ORDERED that defendants’ motion to inspect the notice of appeal (Docket

144) is granted. Defendants’ expert Wendy Carlson may examine the notice of

appeal on April 24 in the Rapid City office of the Clerk of Court. Ms. Carlson

may not damage or otherwise alter the document in conducting her analysis.

      Dated April 17, 2019.

                               BY THE COURT:


                               /s/ Jeffrey L. Viken
                               JEFFREY L. VIKEN
                               CHIEF JUDGE




                                        2
